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                              UNITED ST~TES DISTRICT COURT
                              SQ_UTHE~t:fISTRICT OF FLORIDA

                            CASE NO.      (;r -C fL-     0:6 ff f       -f2-/mR_ .


    UNITED STATES OF AMERICA

    vs.

    BRETT HIRSCH,

                          Defendant.
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                        AGREED FACTUAL BASIS FOR GUILTY PLEA

           Beginning in or around approximately January 2017 and continuing through approximately

   June 2019, in Palm Beach County, the Southern District of Florida, and elsewhere, the defendant,

   BRETT HIRSCH ("HIRSCH"), knowingly and willfully conspired and agreed with others to'

   solicit and receive illegal health care kickbacks, in violation of Title 18, United States Code,

    Section 371. Medicare is a ''health care benefit program" as defined in Title 18, United States ·

    Code, Section 24, Furthermore, Medicare is a health care benefit program affecting commerce.

           HIRSCH owned and operated Alite Medical Solutions, LLC, a Florida corporation with its

    principal place of business in the Southern District of Florida. HIRSCH was a patient broker who

    referred Medicare beneficiaries t~ laboratories in exchange for bribes and kickbacks. The

    laborator.ies included LabSolutions, LLC, Clio Laboratories, LLC and Performance Laboratories

    LLC (the ''Labs"). In exchange for referring the beneficiaries to the Labs, the Labs paid the
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    Defendant a kickback based on a set perce_ntage of the. amount they received from Medicare for

    performing the tests; These kickbacks were paid to HIRSCH and Alite Medical Solutions, LLC
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        by means of cash and by check and wires. From January 2017 to June 2019, HIRSCH was paid

        approximately $2,532,242 in kickbacks.

                _HlllSCH referred the Medicare beneficiaries to the Labs for genetic testing. HIRSCH

        understood that the tests were not medically necessary, and that the tests were not ordered by a

        physician treating the beneficiary for any· specific medical problem, symptom, illness or

        diagnosis. lnstea.d, HIRSCH knew ·that the beneficiaries were recruited in a variety· of ways,

        including through call centers ~nd health fairs, to receive the tests. HIRSCH understood that the
                                                      /

        tests were ordered by doctors, including telerriedicine doctors, who were not going to use the

        results'in the management of the beneficiary's specific medical problems. HIRSCH knew that the

        Labs billed Medicare for the genetic tests.

                HIRSCH also recruited other individuals to refer beneficiaries to· the Labs. Defendant

        received an "override" fee from the Labs, which equated to a percentage of the amount the Labs

        received from Medicare for performing the tests, for beneficiaries those individuals referred to the

        Labs.




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        . As a result ofHIRSCH's participation in the conspiracy as a patient broker, Medicare paid

   the Labs approximately $4,624,456 they were not entitled to receive, based on patients procured

   through kickbacks.

          The preceding statement is a summary, made for the purpose of providing the Court with
   a factual basis for my guilty plea to the charges against me. It does riot include all of the facts

   known to me concerning criminal activity in which I and others engaged. I make this statement

   knowingly and voluntarily and because I am in fact guilty of the crimes charged.




                                                MICHAEL WEINSTEIN, ESQ.
                                                Attomey for Defendant




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